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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         MIAMI DIVISION

   UNITED STATES OF AMERICA ex rel.)
   DEREK LEWIS and JOEY NEIMAN,    )
                                   )
           Plaintiffs,             )
                                   )
           v.                      )
                                                            No. 18-CV-20394-RNS
                                   )
   COMMUNITY HEALTH SYSTEMS, INC., )
   et al.,                         )
                                   )
           Defendants.             )
                                   /

                   UNOPPOSED MOTION TO APPEAR PRO HAC VICE,
                    CONSENT TO DESIGNATION, AND REQUEST TO
              ELECTRONICALLY RECEIVE NOTICES OF ELECTRONIC FILING

         In accordance with Rule 4(b) of the Rules Governing the Admission, Practice, Peer Review,

  and Discipline of Attorneys of the United States District Court for the Southern District of Florida,

  the undersigned respectfully moves for the admission pro hac vice of Brandon L. Arnold

  (“Arnold”) of the law firm of Robbins, Russell, Englert, Orseck, Untereiner & Sauber LLP, 2000

  K Street NW, 4th Floor, Washington DC 20006, (202) 775-4500, for purposes of appearance as

  co-counsel on behalf of Defendants listed in Exhibit 1 (collectively, the “CHS Hospitals”) in the

  above-styled case only, and pursuant to Rule 2B of the CM/ECF Administrative Procedures, to

  permit Arnold to receive electronic filings in this case. This motion is unopposed. In support of

  this motion, the undersigned states:

         1.      Arnold is not admitted to practice in the Southern District of Florida and is a

  member in good standing of the bars of the State of New York and the District of Columbia.

         2.      Martin B. Goldberg (“Goldberg”), Esquire, of the law firm of Lash & Goldberg

  LLP, Miami Tower, 100 Southeast 2nd Street, Suite 1200, (305) 347-4040, is a member in good
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  standing of the Florida Bar and the United States District Court for the Southern District of Florida

  and is authorized to file through the Court’s electronic filing system. Goldberg consents to be

  designated as a member of the Bar of this Court with whom the Court and opposing counsel may

  readily communicate regarding the conduct of the case, upon whom filings shall be served, who

  shall be required to electronically file and serve all documents and things that may be filed and

  served electronically, and who shall be responsible for filing and serving documents in compliance

  with the CM/ECF Administrative Procedures. See Section 2B of the CM/ECF Administrative

  Procedures.

         3.      In accordance with the local rules of this Court, Arnold has made payment of this

  Court’s $75 admission fee. A certification in accordance with Rule 4(b) is attached as Exhibit 2.

         4.      Arnold, by and through designated counsel and pursuant to Section 2B CM/ECF

  Administrative Procedures, hereby requests the Court to provide Notice of Electronic Filings to

  Arnold at barnold@robbinsrussell.com.

         WHEREFORE, Goldberg moves this Court to enter an Order permitting Arnold to appear

  before this Court on behalf of Defendants CHS Hospitals for all purposes relating to the proceedings

  in the above-styled matter and directing the Clerk to provide notice of electronic filings to Arnold.

  For the Court’s convenience, a proposed order is attached as Exhibit 3.




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                       Certification of Compliance with Local Rule 7.1(a)(3)

        Pursuant to Rule 7.1(a)(3) of the Local Rules of the United States District Court for the

  Southern District of Florida, the undersigned counsel for Defendants CHS Hospitals has conferred

  with counsel for Plaintiffs, and Plaintiffs do not oppose the relief requested in this motion.



  Dated: July 10, 2019

                                                     Respectfully submitted,

                                                     /s/ Martin B. Goldberg
                                                     Martin B. Goldberg
                                                     Florida Bar No. 0827029
                                                     Email: mgoldberg@lashgoldberg.com
                                                     LASH & GOLDBERG LLP
                                                     Miami Tower
                                                     100 Southeast 2nd Street, Suite 1200
                                                     Miami, FL 33131-2158
                                                     Telephone: (305) 347-4040
                                                     Facsimile: (305) 347-4050

                                                     Counsel for the CHS Hospitals




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on July 10, 2019, I electronically filed the foregoing with the Clerk of

  the Court by using the CM/ECF system which will send a notice of electronic filing to all counsel

  of record for the parties.



  Dated: July 10, 2019

                                                     /s/ Martin B. Goldberg
                                                     Martin B. Goldberg
                                                     Florida Bar No. 0827029
                                                     Email: mgoldberg@lashgoldberg.com
                                                     LASH & GOLDBERG LLP
                                                     Miami Tower
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                                                     Counsel for the CHS Hospitals




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